
In re Celanese-LTD; — Defendant; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, First City Court For The City Of New Orleans, Nos. 01-53250, 01-53268, 01-53259, 01-53247, 01-53265, 01-53316, 01-53310, 01-53271, 01-53253, 01-53256,; to the Court of Appeal, Fourth Circuit, No(s). 2002-C-1597, 2002-C-1598, 2002-C-1599, 2002-C-1600, 2002-C-1601, 2002-C-1602, 2002-C-1603, 2002-C-1604, 2002-C-1605, 2002-C-1606, 2002-C-1610, 2002-C-1611, 2002-C-1612, 2002-C-1613, 2002-C-1614, 2002-C-1615, 2002-C-1616, 2002-C-1617, 2002-C-1618, 2002-C-1619.
Denied.
